         Case 5:16-cr-50015-TLB                     Document 132            Filed 11/02/16           Page 1 of 6 PageID #: 729
AO 2458 (Rev. I0/ 15) Judgment in a Criminal Ca e
                        Sheet I



                                         UNITED STATES DISTRICT COURT
                                                          Western District of Arkansas
                                                                           )
              UNITED ST A TES OF AMERICA                                   )        JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                                                                           )
                  VAN DORAN WE A VER III                                            Case Number:            5: 16CR50015-006
                                                                           )
                                                                           )        USM Number:             14245-010
                                                                           )
                                                                           )        Kenneth L. Osborne
                                                                           )        Defendant' s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         One ( 1) of the Indictment on July 8, 201 6.

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was fo und guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended              Count
18 U. S.C. §§ 1344(2) and         Con piracy to Commit Bank Fraud                                               11 /03/2015                1
1349




The defendant is sentenced as provided in pages 2 through -~
                                                           6_             of thi s judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .
D The defendant has been fo und not guilty on count(s)
X Count Four (4) and the Forfe iture Allegation are dismissed on the motion of the United States.
It is ordered that the defendant must noti fy the United Sta tes attorney fo r this district within 30 days of any change of name, residence, or mailing
add ress un til a ll fines, restitution, costs, and spec ial assessments unposed by thi s judgment are full y paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          October 31




                                                                          Honorable T imoth L. Brooks United States District Judoe
                                                                          Name and Title of Judge


                                                                               No~kr)                           /t1tb
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                        Sheet 2 - lmp1isonment

                                                                                                     Judgment -   Page _ _2_ _ of    6
 D EFENDANT:                    VAN DORAN WEA VER III
 CASE NUMBER:                   5: l 6CR50015-006

                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total tenn of:     fourteen (14) months on Count One (1) of the Indictment.




     X T he court makes the fo llowing recommendations to the Bureau of Prisons:
          That the defendant be placed in a course(s) to obtain or work towa rd obtaining his GED and that the defendant be prec luded from
          participating in other progra ms while incarcerated until such time.




     X The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal fo r this district:
          D at                                               D p.m.        on

          D as notified by the United States Marshal.

     D The defendant shall surrender fo r service of sentence at the instituti on designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as fo llows:




          Defendant delivered on                                                        to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UN IT ED STATES MA RSHAL


                                                                        By
                                                                                             DEPUTY UN ITED STATES MA RSHA L
AO 2458 (Rev. 10/ 15) Judgment in a C1i minal Case
             Case 5:16-cr-50015-TLB
                     Sheet 3 - Supervi ed Release
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                                                                                                                  Judgment- Page __3__ of              6
DEFENDANT:                      VAN DORAN WEA VER III
CASE NUMBER:                    5: I 6CR500 15-006
                                                            SUPERVISED RELEASE

 Upon release fro m imprisonment, the defendant sha ll be on supervised re lease fo r a term of:               three (3) years.




 T he defendant must report to the pro bation o ffi ce in the district to which the defendant is released within 72 hours ofre lease from the custody
 of the Bureau of Prisons.
The defendant shall not commit another federa l, state or loca l crime.
 T he defendant shall not unlawfu lly possess a controlled substance. T he defendant shall refrain fro m any unlawful use of a controlled
 substance. T he defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as detem1ined by the court.

 D        T he above drug testing condition is suspended, based on the court' s determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

 x        T he defendant shall not possess a fiream1, ammunition, destructive device, or any other dangerous weapon. (Check. if applicable.)

 x        T he defendant shall cooperate in the co llection of DNA as directed by the probation office r. (Check. if applicable.)

          The defendant shall comply with the requirements of the Sex Offe nder Registration and otification Act (42 U. S.C. § 1690 1, et seq.)
 D        as directed by the probation officer, the Burea u of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a quali fying offense. (Check, if applicable.)

 D        The defendant sha ll participate in an approved program for domestic violence. (Check, if applicable.)
 If this judgment in1poses a fine or restitution, it is a condition of supervised re lease that the defendant pay in accordance with the Schedule
 of Payments sheet of this j udgment.
 T he defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
 attached page.

                                           ST AND ARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the j udicial district without the pemu ssion of the court or probation officer;
     2)     the defendant shall report to the pro bation offi cer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfull y all inquiries by the probation officer and fo llow the instructions of the probation officer;
     4)     the defendant sha ll support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularl y at a lawful occupation, unless excused by the probation offi cer fo r schooling, tra ining, or other
            acceptable reasons;
     6)     the defendant shall notify the probation offi cer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refra in fro m excessive use of alcoho l and shall not purchase, possess, use, distribu te, or administer any
            contro ll ed substance or any paraphernalia related to any contro lled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where contro lled substances are illegally sold, used, di stributed, or admini stered;
     9)     the defendant sha ll not associate with any persons engaged in crimina l ac ti vity and shall not associate with any person convicted of a
            fe lony, unl ess granted pem1i ssion to do so by the proba tion officer;
  I 0)      the defe ndan t sha ll pem1it a probation officer to visi t him or her at any time at home or elsewhere and shall pem1it confi sca tion of any
            contraband observed in plain view of the probation officer;
  I I)      the defe ndant shall noti fy the probation officer within seventy-two hours of being a1Tested or questioned by a law enforcement officer;
  12)       the d ~fend a nt sha ll no t enter into any agreement to act as an info m1er or a specia l agent of a law enforce ment agency without the
            perm1ss1on of the court; and
  13)       as di rec ted by the pro bation offi cer, the defendant sha ll notify third parties of risks that may be occas ioned by the defenda nt' s criminal
            record or personal history or characteristics and shall pe1111it the pro bation officer to make such notifications and to confi rm the
            defendant' s co mpliance with such notification requirement.
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         Sheet 3C - Supervised Release
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                                                                                                                         4 - of
                                                                                                        Judgment- Page - -                 6
DEFENDANT:                    VAN DORAN WEAVER III
CASE NUMBER:                  5: 16CR50015-006

                                            SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit to inpatient or outpatient substance abuse evaluation, counse ling, testing, and/o r treatment, as may be deemed
necessary and as directed by the U.S . Probation Office.
2. The defendant shall submit his person, residence, place of empl oyment, and vehicle to a search to be conducted by the U.S . Probation Office
at a reasonable time and in a reasonable manner based on reaso nable suspicion that evidence of any violation of conditions of supervised release
might thereby be disclosed.
3. Regarding the already standard condition of employment, the Court specificall y instructs that while the defendant is on supervised release,
he obtain substantial, full-time, gainful emp loyment, and to the extent that he i not so employed, he must be acti vely engaged in looking fo r
full-time employment. The Court further noted that "actively engaged" will requi re the defendant to keep a logbook of all of the defendant ' s
efforts in looking to secure employment and to make that logbook available to his U.S. Probation Officer for review upon request. If the U.S .
Probation Offi cer believes that the effo rts do not represent the defendant's sincere attempts and substantial attempts to find employment, the
Court requests that the U. S. Probation Officer immediately bring this info mrntion to the Court's attention and/or if any of the info nnation in
the logboo k is detennined to be inaccurate that the Court be no tified as well.
          Case
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               10/ 15) Judgment in a Criminal Case   Document 132              Filed 11/02/16          Page 5 of 6 PageID #: 733
          Sheet 5 - C1iminal Moneta1y Penalties
                                                                                                         Judgment -   Page     5      of       6
 DEFENDANT:                          VAN DORAN WEA VER ill
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                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the tota l criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                          Fine                                Restitution
 TOTALS              $ 100.00                                            $ 900 .00                           $ -0-



 0    The determination ofrestitution is deferred until
                                                        ----
                                                             . An Amended Judgment in a Criminal Case (A O 245C) will be entered
      after such detennination.

 D The defendant must make restitution (inc luding community restitution) to the fo llowing payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall rece ive an approximate ly proportioned .Payment, unless spec ified otherwise in
      the priori ty order or percentage payment co lumn below. However, pursuant to 18 U.S.C. ~ 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Pavee                                   Total Loss*                         Restitution Ordered                     Prioritv or Percentage




 TOTALS                                 $


 D      Restitution amount ordered pursuant to plea agreement $

 D      The defendant must pay interest on restitution and a fine of more than 2,500, unless the restitution or fine is paid in full before the
                                                                                   *
        fi ftee nth day after the date of the judgment, pursuant to 18 U.S.C. 36 12(£) . All of the payment options on Sheet 6 may be subj ect
                                                                               *
        to penalties fo r delinquency and default, pursuant to 18 U. S.C. 36 I 2(g).

 X      The court dete1111ined that the defendant does not have the ability to pay interest and it is ordered that:

        X the interest requirement is waived fo r the           X    fin e   D restitution.
        0    the interest requirement fo r the       D   fine       D restitution is modified as fo llows:

 * Findings fo r the tota l amount ofl osses are required under Chapters l 09 A, 110, 11 OA, and 1I 3A of Title 18 fo r offenses committed on or a fter
 September 13, 1994 , but befo re April 23 , 1996.
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                   15) Judgment in a Criminal Case   Document 132                Filed 11/02/16             Page 6 of 6 PageID #: 734
         Sheet 6 - Sc hedule of Payments
                                                                                                                    Judgment -   Page __6__ of                6
DEFE DANT :                   VAN DORAN WEA VER ill
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                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant' s abili ty to pay, payment of the total crimina l monetary penalties is due as fo llows:

 A     X     Lump sum payment of $           1,000.00              due immediately, balance due

             D     not later than                                       , or
            X      in accordance           D C,       D D,         D     E, or      X F below; or
B      D     Payment to begin immediately (may be combined with                  o c,         D D, or       D F below); or
 C     D     Payment in equal                          (e.g .. weekly, monthly. quarterly) installments of $                               over a period of
                             (e.g.. months or years), to commence                         (e.g .. 30 or 60 days) after the date of thi s judgment; or

 D     D     Payment in equal                            (e.g., weekly. monthly. quarterly) installments of $                            over a period of
                             (e.g .. months or years) , to commence                        (e.g., 30 or 60 days) after release fro m in1prisonment to a
             tem1 of supervision; or

 E     D     Payment during the tem1 of supervised release wi ll commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan ba ed on an assessment of the defendant's ability to pay at that time; or

 F     X     Spec ial instructions regarding the payment of crin1inal monetary penalties:
             If not paid inm1edia tely, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of up
             to 50% of the defendant's available fund s, in accordance with the Inmate Financial Responsibility Program . During residential reentry
             placement, Fayments will be 10% of the defendant's gross monthly income. The payment of any remainin~ balance shall become a
             condition o supervised re lease and shall be paid in monthly in tallments of$40.00 or 10% of the defendant s net monthly household
             income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of the period of
             supervised release.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibili ty Program, are made to the clerk of the court.

 The defendant shall receive credit fo r all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several


       Defendant and Co- Defendant Names and Case Numbers (including def endant numbe1) , Tota l Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defe ndant shall pay the cost of prosecution.

 D     The defe ndant shall pay the fo llowing court cost(s):

 D     The defe ndant shall fo rfe it the defendant's interest in the fo llowing pro perty to the United States:


 Payments shall be applied in _the fo llow_ing order:     (I?
                                                          assessment, (2) restitution principal, (3) restitution interest, (4) fi ne pri nc ipa l,
 (5) fi ne interest, (6) community restttut1on, (7) pena ties, and (8) costs, mcludmg cost o f prosecution and court costs.
